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                  EXHIBIT 12
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,

                                  Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-
   KNIGHTS, LOYAL WHITE KNIGHTS OF THE
   KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.




                 THIRD AMENDED NOTICE OF DEPOSITION OF
                     DEFENDANT JAMES ALEX FIELDS, JR.
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        PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

 Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon

 oral examination of Defendant James Alex Fields, Jr. at 10:00 a.m. ET on February 25, 2021,

 and will continue from day to day until completed. The deposition will be conducted before a

 Notary Public or other officer authorized by law to administer oaths. The deposition will take

 place via videoconference, as agreed upon by the parties, or at such other location, date, method

 and time as may be mutually agreed upon by the parties. The deposition will be recorded by

 stenographic means, and will be recorded by video means and through the instant visual display

 of the testimony. The deposition will be taken for the purposes of discovery and all other

 purposes permitted by the Federal Rules of Civil Procedure.

  Dated: January 5, 2021                             Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2021, I served the foregoing upon following counsel
 and pro se defendants, via electronic mail, as follows:

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